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                            UNITED STATES DISTMCT COURT
                             SOUTHERN DISTRICT OF OHIO
                                  EASTERNDIVISION


 UNITEDSTATESOFAMERICA,                               CASE   ^             <p^p
               Plaintiff,                             JUDGE

        vs.                                           INFORMATION

 JUSTINESKMDGE,                                       18 U. S.C. § 656

               Defendant.



THE UNITED STATES ATTORNEY CHARGES:

                                     COUNT 1
                  (Theft or Embezzlement by Bank Employee or Agent)

       At all times relevant to this Bill of Information:


       1.     Loomis US, LLC ("Loomis") is an armored truck company with national

headquarters located in Houston, Texas. Loomis' service network includes approximately

two hundred operating locations in the United States with a fleet of over four thousand

vehicles that operate in a nationwide network, including Columbus, Ohio.

       2.     Loomis, on a daily basis, collects and delivers cash and valuables across

stores, banks, deposit boxes, and ATMs to ensure that businesses have the cash they need

for daily operations. Loomis contracted with, among others, PNC Bank ("'PNC") in

Columbus, Ohio, to transport bags of currency by armored vehicle to various PNC branches

and ATMs.

       3.     When PNC requests the servicing of an ATM, PNC specifies the load amount

to be put into the ATM. The cash remaining ("residual amount") in the ATM at the time of
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servicing is withdrawnin its entirety. Tellers then balancethe residual amount basedon the

load andactivity withinthe ATM.

        4.     On or about July 19, 2022, Defendant JUSTIN ESKRIDGE was hired by

Loomis as an armed service technician. In his position, ESKMDGE was responsible for

delivering the cashentmsted to it by PNCto various locations, including PNC branches and
ATMs.

        5.     PNC is a financial institution whose deposits are insured by the Federal

Deposit Insurance Corporation.

                           The Theft and Embezzlement


        6.     Beginning in or about December 14, 2022, and continuing until in or about

January 9, 2023, in the Southern District of Ohio, DefendantJUSTINESKMDGE,who was

atthetime an agentofandconnectedto a federally insuredbankin his capacityasan employee

ofLoomis,an armoredtruck serviceresponsiblefor deliveringUnited Statescurrency for andto

PNC,thedepositsofwhichwereinsuredbytheFederalDepositInsuranceCorporation,did,with

intent to injure and defraud PNC, embezzle, abstract, and purloin the sum of approximately

$226, 082 belonging to PNC and pledged and otherwise entrusted to its care.

        In violation of Title 18, United States Code, Section 656.




                                                    KENNETH L. PARKER
                                                    UNI D STAT     TTORNEY

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                                                    D    OUNDELAVIZ(PA309631)
                                                    Assistant United StatesAttorney
